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TO:          Howard Milstein/Edward Milstein/Michael Milstein
FROM:        Amy Gould
CC.          Tony Bergamo, Steve Dolnick, Lorraine Doyle, Anna Seddio, Alva Acosta, Mark Sheeran, Steve Rossi,
             Clive Spagnoli, Angela Vigorito, Vernon Jefferson, Jeff Epstein
DATE:        August 12, 2011

                                        LEGAL ACTION UPDATE REPORT
                                              AMOUNT        # OF MONTHS          CURRENT
APT          TENANT                          SUED FOR         SUED FOR           O/S RENT      STATUS




200 RECTOR PLACE -

36D     DA   CATON                            $15,885             3               $18,032      TRANSFERRED APTS -PAYING PER STIP




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